
85 So.3d 1191 (2012)
John FIGUEROA, Appellant,
v.
INTEGRITY EMPLOYEE LEASING/GUARANTEE INSURANCE COMPANY, Appellees.
No. 1D11-6281.
District Court of Appeal of Florida, First District.
April 24, 2012.
Brian O. Sutter, Port Charlotte, for Appellant.
Christopher A. Thorne and D. Robert Swanson of Thorne &amp; Storey, Orlando, for Appellees.
PER CURIAM.
Upon review of Appellant's timely response to this Court's February 7, 2012, order to show cause, the Court dismisses this appeal for lack of jurisdiction because the order under review is neither a final order nor an appealable nonfinal order under Florida Rule of Appellate Procedure 9.180(b)(1).
DISMISSED.
DAVIS, CLARK, and ROWE, JJ., concur.
